   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-410 (Rev. 04/18)                                                                                         Chapter DOC 310


                                                  ICE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *

        To: ANDERSON, JOHN M. - #91384
            UNIT: _N-_D -- _D30-_L
            WAUPUN CORRECTIONAL INSTITUTION
            PO Box 351
            WAUPUN, WI 53963-0351



        Complaint Information:
           Date Complaint Acknowledged:    09/05/2023
           Date Complaint Received:        09/05/2023
           Subject of Complaint:        4 - Medical

           Brief Summary:               complains he is not being seen for eye pain

           This is to acknowledge the complaint you filed which was received on the date indicated. Depending on
           the nature of the complaint, you may or may not be interviewed by the ICE. A recommendation on the
           complaint will be made and submitted to the appropriate reviewing authority within 30 days of
           acknowledgement. A decision will be made by the appropriate reviewing authority within 15 days following
           receipt of the recommendation unless extended for cause.
                Please write to the ICE if this issue is resolved before you receive an answer.




Print Date: September 06, 2023                               Page 1 of 1                       Institution Complaint Examiner's Office
                                                      ** ICRS CONFIDENTIAL **
                                                                         EXHIBIT
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-401 (Rev. 04/18)                                                                                         Chapter DOC 310

                                                   ICE REPORT
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *

       To: ANDERSON, JOHN M. - #91384
           UNIT: _N-_D -- _D30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 09/05/2023                                        Inmate Contacted? No

          Date Complaint Received:        09/05/2023
          Subject of Complaint:          4 - Medical

          Document(s) Relied Upon:       DOC 310
                                         HSU record

          Brief Summary:                 complains he is not being seen for eye pain

          Summary of Facts:              TM Inmate complains he is not being seen for eye pain.

                                         AHSM Haseleu was contacted and stated, "Mr. Anderson' eye concerns have
                                         been addressed at WCI and with an offsite provider. He was put on the list for
                                         optical the last time she was here (10/10/23), but for some reason he was not
                                         able to come to HSU that day. I think there was some construction in the cell
                                         hall that canceled the passes. He will remain on their list."

                                         His issue has been addressed at HSU and he is currently on the optical list.
                                         The ICE brings no particular expertise to the task of evaluating any diagnosis
                                         and course of treatment initiated by medical professionals. No determination
                                         can be made with respect to the claims in the complaint, as it is arguably
                                         beyond my authority. It does not appear his health care concerns are being
                                         ignored. Inmate is reminded that complete cooperation with HSU staff will
                                         produce the most positive result from every visit. Recommendation is made to
                                         dismiss the complaint. Through the ICRS process, the matter will be reviewed
                                         by the Health Services Nursing Coordinator.
          ICE Recommendation:            Dismissed

          Recommendation Date:           10/31/2023




                                         T. Moon - Institution Complaint Examiner

Print Date: November 13, 2023                                 Page 1 of 1                      Institution Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                        WISCONSIN
   Department of Adult Institutions                                                                           Administrative Code
   DOC-403 (Rev. 04/18)                                                                                        Chapter DOC 310

                                      REVIEWING AUTHORITY'S DECISION
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *

       To: ANDERSON, JOHN M. - #91384
           UNIT: _N-_D -- _D30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Complaint Acknowledged: 09/05/2023
          Date Complaint Received:         09/05/2023
          Subject of Complaint:            4 - Medical
          Brief Summary:                   complains he is not being seen for eye pain
          ICE's Recommendation:            Dismissed
         Reviewer's Decision:              Dismissed

          Reason(s) for Decision:          The patient will be seen next time optical is in house at WCI. The patient has
                                           been seen for this issue previously. The patient is encouraged to contact HSU
                                           as needed for further health concerns.

          Decision Date:                   11/13/2023




                                          R. Weinman - Reviewing Authority
          CC:
                Distributed via email
                    Haseleu, A

          A complainant dissatisfied with a decision may, within 14 days after the date of the decision, appeal that
          decision by filing a written request for review with the Corrections Complaint Examiner on form DOC-405
          (DOC 310.12, Wis. Adm. Code).




Print Date: November 13, 2023                                   Page 1 of 1                                        Reviewer's Office
                                                         ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                             WISCONSIN
   Department of Adult Institutions                                                                                Administrative Code
   DOC-405A (Rev. 04/18)                                                                                             Chapter DOC 310


                                                  CCE RECEIPT
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *

       To: ANDERSON, JOHN M. - #91384
           UNIT: _N-_D -- _D30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:        11/16/2023

          Date Appeal Received:            11/16/2023
          Subject of Complaint:            4 - Medical

          Brief Summary:                   complains he is not being seen for eye pain

          Your request for review has been received.

          The Corrections Complaint Examiner (CCE) has 35 days to submit a recommendation to the Office of the
          Secretary (OOS) for Review. The OOS has 45 days to make a decision after receiving the CCE's report. The
          OOS may extend the time for making a decision for cause and upon notice to all interested parties.

          If you do not receive a decision or other notices within that time, you may write directly to:
                                      Secretary of the Department of Corrections
                                      Post Office Box 7925
                                      Madison, WI 53707-7925




Print Date: November 16, 2023                                   Page 1 of 1                        Corrections Complaint Examiner's Office
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   DEPARTMENT OF CORRECTIONS                                                                                     WISCONSIN
   Department of Adult Institutions                                                                        Administrative Code
   DOC-404 (Rev. 04/18)                                                                                      Chapter DOC 310


                                                  CCE REPORT
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *

       To: ANDERSON, JOHN M. - #91384
           UNIT: _N-_D -- _D30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:      11/16/2023
          Date Appeal Received:          11/16/2023
          Subject of Complaint:          4 - Medical
          Brief Summary:                 complains he is not being seen for eye pain
          Method of Disposition:            Review on Record? Yes                             Investigation? No

          Person(s) Contacted:           Nursing Coordinator

          CCE's Recommendation:          Dismissed
                                         Anderson has been seen frequently by HSU and has refused care multiple
                                         times. As noted, he will be seen by optical. Dismissal is recommended.
          Recommendation Date:          11/21/2023




                                         B. Hompe - Corrections Complaint Examiner




Print Date: December 11, 2023                                 Page 1 of 1                  Corrections Complaint Examiner's Office
                                                       ** ICRS CONFIDENTIAL **
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   DEPARTMENT OF CORRECTIONS                                                                                  WISCONSIN
   Department of Adult Institutions                                                                     Administrative Code
   DOC-403 (Rev. 04/18)                                                                                   Chapter DOC 310


                                       OFFICE OF SECRETARY DECISION
                                      COMPLAINT NUMBER WCI-2023-13260
                                         * * * ICRS CONFIDENTIAL * * *


       To: ANDERSON, JOHN M. - #91384
           UNIT: _N-_D -- _D30-_L
           WAUPUN CORRECTIONAL INSTITUTION
           PO Box 351
           WAUPUN, WI 53963-0351




       Complaint Information:
          Date Appeal Acknowledged:       11/16/2023
          Date Appeal Received:           11/16/2023
          Subject of Complaint:           4 - Medical
          Brief Summary:                  complains he is not being seen for eye pain

         OOS Decision:                    Dismissed

          Decision Comments:              The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 11/21/2023 in the above appeal: The attached
                                          Corrections Complaint Examiner's recommendation to DISMISS this appeal is
                                          accepted as the decision of the Secretary.
          Decision Date:                 12/07/2023




                                         C. O'Donnell - Office of the Secretary




Print Date: December 11, 2023                                  Page 1 of 1                               Office of the Secretary
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                                                                                                     GENERAL REPORT
                                                                                                       WCI-2023-13260
                                                State of Wisconsin
                                                  Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Complaint Information:
           Date Complaint Acknowledged:       September 05, 2023
              Date Complaint Received:        September 05, 2023
              Subject of Complaint:         4 - Medical

              Brief Summary:                complains he is not being seen for eye pain

        ICE Recommendation Information:        (Signed on 10/31/23 1:35:17PM):
              Document(s) Relied Upon:      DOC 310
                                            HSU record
              ICE's Summary of Facts:       TM Inmate complains he is not being seen for eye pain.

                                            AHSM Haseleu was contacted and stated, "Mr. Anderson' eye concerns
                                            have been addressed at WCI and with an offsite provider. He was put on the
                                            list for optical the last time she was here (10/10/23), but for some reason he
                                            was not able to come to HSU that day. I think there was some construction in
                                            the cell hall that canceled the passes. He will remain on their list."

                                            His issue has been addressed at HSU and he is currently on the optical list.
                                            The ICE brings no particular expertise to the task of evaluating any diagnosis
                                            and course of treatment initiated by medical professionals. No determination
                                            can be made with respect to the claims in the complaint, as it is arguably
                                            beyond my authority. It does not appear his health care concerns are being
                                            ignored. Inmate is reminded that complete cooperation with HSU staff will
                                            produce the most positive result from every visit. Recommendation is made
                                            to dismiss the complaint. Through the ICRS process, the matter will be
                                            reviewed by the Health Services Nursing Coordinator.

              ICE's Recommendation:         Dismissed
              ICE's Recommendation Date: October 31, 2023

        RA's Decision Information:      (Signed on 11/13/23 8:55:31AM):
              RA's Reason:                  The patient will be seen next time optical is in house at WCI. The patient has
                                            been seen for this issue previously. The patient is encouraged to contact
                                            HSU as needed for further health concerns.
              RA's Decision:                Dismissed
              RA's Decision Date:           November 13, 2023




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                                                                                               GENERAL REPORT
                                                                                                 WCI-2023-13260
                                             State of Wisconsin
                                               Department of Corrections
                               GENERAL REPORT ON INMATE COMPLAINT

        Appeal to CCE Information:
              Date Appeal Acknowledged:   November 16, 2023
              Date Appeal Received:       November 16, 2023

        CCE's Recommendation Information:      (Signed on 11/21/23 1:26:54PM):
              Person(s) Contacted:        Nursing Coordinator
              CCE's Summary:              Anderson has been seen frequently by HSU and has refused care multiple
                                          times. As noted, he will be seen by optical. Dismissal is recommended.

              CCE's Recommendation:       Dismissed
              CCE's Recommendation Date: November 21, 2023

        OOS' Decision Information:    (Signed on 12/7/23 4:49:52PM):
              OOS' Summary:               The following is the Secretary's decision on the Corrections Complaint
                                          Examiner's recommendation of 11/21/2023 in the above appeal: The
                                          attached Corrections Complaint Examiner's recommendation to DISMISS
                                          this appeal is accepted as the decision of the Secretary.

              OOS' Decision:              Dismissed
              OOS' Decision Date:         December 07, 2023




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                                                                   State of Wisconsin
                                                                     Department of Corrections

                                                               DISTRIBUTION ITEMS
                                                       for COMPLAINT NUMBER WCI-2023-13260
       Item                           Create Date            Created By           Sent To            Inmate ID          Print Date             Printed By
ICE Receipt                    09/05/2023 12:53:51PM   Tonia Moon                WCI                    91384    09/06/2023 8:34:48AM   Tonia Moon
ICE Report                     11/13/2023 8:55:31AM    Robert Weinman            WCI                    91384    11/13/2023 1:04:38PM   Tonia Moon
RA Report                      11/13/2023 8:55:31AM    Robert Weinman            WCI                    91384    11/13/2023 1:04:39PM   Tonia Moon
CCE Receipt                    11/16/2023 11:07:09AM   Matthew Greenwood         WCI                    91384    11/16/2023 1:25:57PM   Brian Kolb
CCE Report                     12/07/2023 4:49:52PM    Cindy O'Donnell           WCI                    91384    12/11/2023 8:20:14AM   Tonia Moon
OOS Report                     12/07/2023 4:49:52PM    Cindy O'Donnell           WCI                    91384    12/11/2023 8:20:14AM   Tonia Moon




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3-cv-01430-WED FiledEXHIBIT
                    03/25/24 1002
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  2-Mar     Referred request to optical. Patient noted to have seen offsite specialist which could not find anything wr
  3-Mar     RN Appointment scheduled
  6-Mar     RN Appointment Scheduled
  7-Mar     RN Appointment attempted. Patient to be seen for eye and other issues. Patient refused appointment.
10-Mar      Letter from Dr.South, Optometrist. Letter tells patient the offsite provider to not recommend anything at
13-Mar      Patient writes letter accusing Dr. South of lying.
15-Mar      RN directs patient to ACP letter in regards to eye issues.
19-Mar      RN sick call two times
20-Mar      RN sick call three times
21-Mar      RN sick call
23-Mar      RN sick call
 11-Apr     RN Sick call
 12-Apr     RN sick call
 19-Apr     Letter to Dr. South. Wants glasses replaced. No mention of eye pain in anyway.
 26-Apr     RN Sick call
  1-May     Letter to HSU. Forwarded to optical provider for review.
11-May      RN appointment to issue new glasses patient has been requesting.
 16-Jun     ACP Appointment. Patient did not bring up Eye issues at any time with provider.
 28-Jun     Reports eye issues. Note saw provider recently before this with no mention of eye issues.
    3-Jul   Note to Optometrist that patient is complaining of eye pain. Normal assessment noted. Message sent to p
    6-Jul   RN Appointment scheduled
    9-Jul   RN Education given. Noted that optometrist has been updated with no new orders as offsite specialty did
  11-Jul    Scheduled to be seen with RN
  25-Jul    RN Sick call. Patient refused assessment.
  28-Jul    RN Sick call
  2-Aug     RN Appointment. Education from AHSM that issues are documented and the optometrist has been updat
  7-Aug     RN Appointment, eye issues with chest pain. Patient refused appointment.
 15-Aug     Referred to RN appointment
 17-Aug     Referred to RN appointment
 30-Aug     RN Sick call. No new issues noted. Patient reports pain in eye. Provider updated.
   4-Sep    AHSM educated patient on appointment is ordered for him to see optical.
   8-Sep    RN responds that patient has an appointment ordered to see his provider.
 13-Sep     RN responds that patient has an appointment ordered to see his provider.
 14-Sep     RN sick call, patient became behavioral and appointment was ended
 26-Sep     RN sick call. Nursing protocol medications ordered. Educated patient he has appointment coming up for h
 28-Sep     Refereed HSR to optical provider
 11-Oct     RN appointment. Patient refused.
 12-Oct     RN responded that she will try and get his appointment for optometry moved up.
16-Nov      RN Sick call. Provider updated.




                                                       EXHIBIT32-3
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